                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


DINA CAPITANI,                                    )
                                                  )
         Plaintiff,                               )
                                                  )
v.                                                )   Case No. 3:19–cv–00120
                                                  )
WORLD OF MINIATURE BEARS, INC.,                   )
et al.                                            )   Judge Crenshaw
                                                  )   Magistrate Judge Frensley
         Defendants.                              )

                        PLAINTIFF’S RESPONSE IN OPPOSITION TO
                        DEFENDANTS’ TRIAL BRIEF ON DAMAGES

         Plaintiff Dina Capitani (“Plaintiff” or “Ms. Capitani”) responds in opposition to Defendants’

Trial Brief on Damages (Doc. 93) as follows.

I.       PLAINTIFF HAS THE OPTION OF ELECTING STATUTORY DAMAGES AT
         ANY TIME BEFORE FINAL JUDGMENT.

         Defendants erroneously contend that in almost all cases where statutory damages are applied

“it is due to willful infringement.” Defs’ brief, p. 5. Defendants’ assertion is completely without

merit.

         Section 504(c) of the Copyright Act permits a copyright owner to elect, at any time before

final judgment is rendered “to recover, instead of actual damages and profits, an award of statutory

damages.” 17 U.S.C. § 504(c)(1); see also Digital Filing Sys., L.L.C. v. Aditya Int'l, 323 Fed. Appx.

407, 412 (6th Cir. 2009). In fact, in the very case cited by Defendants, the Sixth Circuit correctly

held that:

         Digital Filing Systems chose the option of recovering statutory damages under
         § 504(c) in lieu of actual damages. In copyright infringement cases, the district
         court has discretion to award statutory damages of any amount between [the]
         minimum and maximum for each infringement.




     Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 1 of 7 PageID #: 1704
         Having concluded that infringement occurred, and based on Plaintiff's election of
         statutory damages, the district court was obligated to make an award of statutory
         damages for each infringement, though it has broad discretion concerning the
         amount awarded within the minimum and maximum statutory boundaries.

Digital Filing Sys., L.L.C., Fed. Appx. at 412 (emphasis added). Based upon the Copyright Act, the

district court awarded the plaintiff statutory damages for innocent infringement as the plaintiff could

not prove willfulness. Therefore, Defendants’ contention that in almost all cases where statutory

damages are applied, it is for willfulness is without merit.

II.      UNDER 17 U.S.C. § 504(c), STATUTORY DAMAGES FOR INNOCENT
         INFRINGEMENT IS BETWEEN $750 TO $30,000, AND STATUTORY DAMAGES
         FOR WILLFUL OR RECKLESS INFRINGEMENT IS UP TO $150,000 PER
         INFRINGED WORKED.

         Defendants next claim that the amount for innocent infringement is between $500 and

$20,000 per infringed worked. Defs’ brief, p. 2. Defendants are once again incorrect, as the very

statute they cite, 17 U.S.C. § 504(c)(1), explicitly states unless the infringement is found to be

willful, a plaintiff may elect statutory damages “in a sum of not less than $750 or more than $30,000

as the court considers just.” 17 U.S.C. § 504(c)(1). These are the same amounts referenced in other

cases cited by Defendants such as Digital Filing Sys., L.L.C. v. Aditya Int'l, 323 Fed. Appx. 407,

412 (6th Cir. 2009) and Hamlin v. Trans-Dapt of California, Inc., 584 F. Supp. 2d 1050, 1054,

(M.D. Tenn. 2008)

         Where the infringement is considered to be willful, the statutory damages, in the court’s

discretion, may be increased up to $150,000 per infringed work. 17 U.S.C. § 504(c)(2). An

infringer acts willfully when he knows that his conduct constitutes copyright infringement or acts

with reckless disregard of the copyright holder’s property rights. Zomba Enters., Inc. v. Panorama

Records, Inc., 491 F.3d 574, 584-85 (6th Cir. 2007). Such damages are warranted in the case at

bar.

                                                  2

      Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 2 of 7 PageID #: 1705
          Defendants did nothing to actually verify whether or not the infringing products they

acquired were licensed or what their obligations were under copyright law. Defendants never

requested a copy of the licensing agreement Roebuck claimed he had to lawfully sell the infringing

products and never inquired why the “licensed” product did not contain a copyright designation,

despite Roebuck claiming they were “licensed.”

           As online sellers of product for numerous years, Defendants should be deemed as a matter

of law to have been on at least constructive notice of their obligations to comply with U.S.

copyright law which Defendants willfully or recklessly failed to do. Instead, the only action they

took to ensure it complied with U.S. copyright laws is to simply accept a seller’s oral representation

that the products they purchased were licensed. As a result, Defendants never demanded that its

seller provide any proof of his compliance with U.S. copyright laws. Such conduct is a flagrant

and reckless disregard for U.S. copyright laws and the rights of artists. As a result, the Court

should deem Defendants’ conduct as willful.

III.      PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES FOR EACH WORK
          DEFENDANTS INFRINGED UPON.

          Lastly, Defendants seem to contend that Plaintiff is seeking damages for each copy of each

infringed work infringed upon. Plaintiff has not made that argument and that is not the law. Rather,

Plaintiff is asking that statutory damages be assessed against Defendants for each work (or each

breed illustration) they infringed upon regardless of how many copies of that work they infringed

upon.

          As stated in another case cited by Defendants, “the total number of awards of statutory

damages that a plaintiff may recover in any given action depends on the number of works that are

infringed and the number of individually liable infringers, regardless of the number of infringements

of those works.” Hamlin v. Trans-Dapt of California, Inc., 584 F. Supp. 2d 1050, 1055, 2008 WL

                                                  3

       Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 3 of 7 PageID #: 1706
4788254 (M.D. Tenn. 2008) (quoting WB Music Corp. v. RTV Comm'n Group, Inc., 445 F.3d 538,

540, 541 (2d Cir.2006)). However, where there are two are more infringers, the legislative history

of section 504 is particularly direct on this point:

         Where the infringements of one work were committed by a single infringer acting
         individually, a single award of statutory damages would be made.... However,
         where separate infringements for which two or more defendants are not jointly
         liable are joined in the same action, separate awards of statutory damages would
         be appropriate.

Mason v. Montgomery Data, Inc., 967 F.2d 135, 144, n. 11 (5th Cir. 1992). Accordingly, Plaintiff

is entitled to statutory damages for each work Defendants infringed upon.

IV.      ALTHOUGH REGISTERED TOGETHER, EACH ONE OF PLAINTIFF’S
         ILLUSTRATIONS IS A SEPARATE WORK.

         Every individual portrait that Plaintiff has created is a separate work and Plaintiff can

recover statutory damages for each one. “In copyright law, a “work”—as its name implies—

reflects an original expression, whether in the form of art, literature, music, or another tangible

medium of expression, that may be entitled to protection.” Sullivan v. Flora, 936 F.3d 562, 567-

568 (7th Cir. 2019); 17 U.S.C. § 102(a).

         An artist seeking copyright protection for multiple works can do so in a single registration

application. See 17 U.S.C. § 408(c)(1) (allowing for a single registration for a group of related

works); 37 C.F.R. § 202.3(b)(4) (same); see also 2 Melville B. Nimmer & David Nimmer, Nimmer

on Copyright § 7.18(c) (Rev. Ed. 2019) (discussing the Copyright Act’s flexible approach in

allowing a single registration for multiple works). According to these regulations, “the copyrights

in multiple works may be registered on a single form . . . while still qualifying as separate works

for purposes of awarding statutory damages.” Gamma Audio & Video, Inc. v. Ean-Chea, 11 F.3d

1106, 1117 (1st Cir. 1993) (emphasis added); accord Sullivan, 936 F.3d at 568. Therefore, the




                                                   4

      Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 4 of 7 PageID #: 1707
fact that Plaintiff’s works are registered on a single form does not preclude a finding that each

portrait is a separate work.

       To determine whether works that are registered on one copyright certificate remain

independent works for damages purposes, federal courts throughout the country turn to the

“independent economic value test” first articulated in Gamma Audio. Gamma Audio, 11 F.3d at

116-117. This test evaluates “whether the protected works have value only in and through their

composite whole (and thus meet the definition of a “compilation” in § 101) or instead have

standalone value at the level of ‘one work.’” Sullivan, 936 F.3d at 571; accord VHT, Inc. v. Zillow

Grp., Inc., 918 F.3d 723, 747 (9th Cir. 2019) (adhering to its discussion in Columbia Pictures

Television, Inc. v. Krypton Bd. of Birmingham, Inc., 259 F.3d 1186 (9th Cir. 2001)) and explaining

that “the question of whether something—like a photo, television episode, or so forth—has

‘independent economic value’ informs our analysis of whether the photo or episode is a work”

within the meaning of § 504(c)(1)); MCA Television Ltd. v. Feltner, 89 F.3d 766, 769 (11th Cir.

1996) (employing the same test to determine “whether each expression has an independent

economic value and is, in itself, viable”); Walt Disney Co. v. Powell, 897 F.2d 565, 570 (D.C. Cir.

1990) (asking whether certain copyrighted materials are “distinct, viable works with separate

economic value and copyright lives” to determine the scope of available statutory damages under

§ 504(c)(1)).

       A protected work has standalone value if the evidence shows that work has distinct and

discernable value to the copyright holder. Sullivan, 936 F.3d at 571; accord Gamma Audio, 11

F.3d at 1116 (explaining that “separate copyrights are not distinct ‘works’ unless they can live

their own copyright life”—a viability determination that turns on whether the work in question has

independent economic value); see also Feltner, 89 F.3d at 769; Walt Disney Co., 897 F.2d at 569.



                                                5

   Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 5 of 7 PageID #: 1708
For instance, the court in Sullivan determined that 33 related illustrations registered together on

one copyright could be considered separate works for damages purposes (although it remanded the

case to the district court in order to develop the factual record on this issue). Sullivan, 936 F.3d at

572; see also Kennedy v. Gish, Sherwood & Friends, Inc., 143 F. Supp. 3d 898, 915 (E.D. Mo.

2015) (finding that statutory damages may be appropriate on each individual photograph registered

on a single certificate where “all of the photographs at issue were infringed on an individual basis.

The fact that they appeared together on a website should not detract from the protection afforded

to each individual effort.”). Considering this standard, Plaintiff’s portraits are separate works

regardless of how they were registered. Each portrait plainly has its own standalone value and

“can live their own copyright life.” Indeed, they are entirely different images. Defendants do not

sell the infringing products as “compilations.”

        Like the photographs in Kennedy, each portrait is infringed upon on an individual basis –

no one product contains more than one protected work. Therefore, Plaintiff can recover statutory

damages for every infringed work at issue in this litigation because each work has distinct and

discernable value to Plaintiff. This is consistent with this Court’s Order in Capitani I where the

Court ordered that Roebucks pay, in part, statutory damages to Plaintiff in the amount of $1,500

for each of the 20 illustrations Defendants’ infringed upon, for a total of $30,000. (Capitani I,

Doc. 33).

V.      CONCLUSION

        Based upon the foregoing, Plaintiff respectfully requests that if the Court finds Defendants

liable for copyright infringement, that the Court award Plaintiff statutory damages for Defendants

willfully infringing on each of Plaintiff’s 20 subject works, as set forth in Plaintiff’s Supplemental

Brief Regarding Issues for Trial (Doc. 97-1).



                                                  6

     Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 6 of 7 PageID #: 1709
                                                  Respectfully submitted by:

                                                  DICKINSON WRIGHT PLLC

                                                  /s/ Autumn L. Gentry
                                                  Autumn L. Gentry, #20766
                                                  Joshua L. Burgener #29077
                                                  424 Church Street, Suite 800
                                                  Nashville, Tennessee 37219
                                                  Phone: (615) 244–6538
                                                  Fax: (844) 670–6009
                                                  agentry@dickinsonwright.com
                                                  jburgener@dickinsonwright.com

                                                  Counsel for Plaintiff Dina Capitani


                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2020, a true and exact copy of the foregoing has been
served on the following via the Court’s electronic filing system:

                  John A. Beam, III
                  Desireé J.C. Goff
                  Equitus Law Alliance PLLC
                  709 Taylor Street
                  P.O. Box 280240
                  Nashville, TN 37228
                  beam@equituslaw.com
                  goff@equituslaw.com


                                                  /s/ Autumn L. Gentry
                                                  Autumn L. Gentry



4837-7918-1513 v1 [99997-70408]




                                              7

    Case 3:19-cv-00120 Document 99 Filed 08/28/20 Page 7 of 7 PageID #: 1710
